                                IN THE UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE

PATRICIA EZELL,                                          )
                                                         )
                   Plaintiff,                            )
                                                         )
vs.                                                      )        No. 1:08-CV-00073
                                                         )        Judge Trauger
NATIONAL RIFLE ASSOCIATION OF                            )
AMERICA, et al.,                                         )
                                                         )
                   Defendants.                           )

                                    STIPULATION OF DISMISSAL


         The parties are agreed and stipulate, as evidenced by the signatures of counsel for all parties

below, that all matters in controversy have been resolved in mediation and this action is voluntarily

dismissed, with prejudice. The parties are agreed that costs should not be taxed or allowed to any

party.

                                         Respectfully submitted,

                                         s/Ben Boston (with express permission)
                                         BEN BOSTON, #11800
                                         BOSTON, HOLT, SOCKWELL & DURHAM, PLLC
                                         235 WATERLOO STREET
                                         P. O. BOX 357
                                         LAWRENCEBURG, TN 38464
                                         931-762-7167

                                         Attorney for Plaintiff




                                              -1-
N EHP 694796 v1
2014412-000094 5/21/2009




      Case 1:08-cv-00073 Document 22 Filed 05/28/09 Page 1 of 2 PageID #: 88
                                      s/Emily H. Plotkin
                                      EMILY H. PLOTKIN, #022978
                                      BAKER, DONELSON, BEARMAN, CALDWELL &
                                      BERKOWITZ, P.C.
                                      211 COMMERCE STREET, SUITE 1000
                                      NASHVILLE, TN 37201
                                      615-726-5600 (telephone)
                                      615-726-0464 (facsimile)

                                      CAMERON S. HILL, #17408
                                      BAKER, DONELSON, BEARMAN, CALDWELL &
                                      BERKOWITZ, P.C.
                                      1800 REPUBLIC CENTRE
                                      633 CHESTNUT STREET
                                      CHATTANOOGA, TN 37450-1800
                                      (423) 756-2010 (telephone)
                                      (423) 756-3447 (facsimile)

                                      Attorneys for Defendants

                                CERTIFICATE OF SERVICE

        I hereby certify that on May 28, 2009, a copy of the foregoing Stipulation of Dismissal
was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will be
served by regular U.S. Mail. Parties may access this filing through the Court’s electronic filing
system.

                              Ben Boston, Esq.
                              Boston, Holt, Sockwell & Durham, PLLC
                              235 Waterloo Street
                              P. O. Box 357
                              Lawrenceburg, TN 38464

                                                     By:__s/Emily H. Plotkin________________
                                                     Emily H. Plotkin, TN BPR No. 022978




                                           -2-
N EHP 694796 v1
2014412-000094 5/21/2009




      Case 1:08-cv-00073 Document 22 Filed 05/28/09 Page 2 of 2 PageID #: 89
